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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                             NORTHWESTERN DIVISION

United States of America,                     )
                                              )
              Plaintiff,                      )       ORDER
                                              )
       vs.                                    )
                                              )
Heather Young Bird,                           )
                                              )       Case No. 4:13-cr-082
              Defendant.                      )


       Defendant has retained the services of attorney Jeff Bredahl, who filed a notice of appearance

as defense counsel on November 4, 2014. Accordingly, attorney Jeff Bredhal shall be substituted

as counsel of record for defendant. Attorney Scott Brand is GRANTED leave to withdraw.

       Dated this 6th day of November, 2014.

       IT IS SO ORDERED.


                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
